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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :       No. 1:21cr-00026-CRC
                                         :
CHRISTOPHER ALBERTS,                     :
    Defendant.                           :


                                        ORDER

      Upon Consideration of the Consent Motion to Temporarily remove the

defendant’s GPS monitoring device on March 8, 2022, from 8:00 a.m. until not later

than then end of the next business day, in order for him to receive proper medical

treatment, and the entire record in this case,

it is this ____ day of March, 2022, hereby, ORDERED:

      The Consent Motion is GRANTED. The United States Probation Office shall

temporarily remove the defendant’s GPS monitoring device on March 8, 2022, at 8:00

a.m., until not later than then end of the next business day, in order for him to receive

proper medical treatment. All other conditions of release remain in full force and effect.




                               ________________________________
                               Judge,
                               U. S. District Court for the District of Columbia




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